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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MARYLAND

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Bauserman Service, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Maryland Airport
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3900 Livingston Road
                                  Indian Head, MD 20640
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Charles                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor    Bauserman Service, Inc.                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                      Case 18-24054                 Doc 1        Filed 10/23/18            Page 3 of 8
Debtor   Bauserman Service, Inc.                                                                   Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Bauserman Service, Inc.                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 23, 2018
                                                  MM / DD / YYYY


                             X   /s/ Tammy Potter                                                         Tammy Potter
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    President



                                 /s/ Steven L. Goldberg
18. Signature of attorney    X   (sgoldberg@mhlawyers.com)                                                 Date October 23, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Steven L. Goldberg (sgoldberg@mhlawyers.com)
                                 Printed name

                                 McNamee Hosea
                                 Firm name

                                 6411 Ivy Lane, Ste. 200
                                 Greenbelt, MD 20770
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (301) 441-2420                Email address


                                 28089 MD
                                 Bar number and State




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
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 Fill in this information to identify the case:
 Debtor name Bauserman Service, Inc.
 United States Bankruptcy Court for the: DISTRICT OF MARYLAND                                                                                         Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 PSM Holdings, LLC                                               Secured by All                                  $2,175,796.46                         $0.00          $2,175,796.46
 c/o Miles &                                                     Real Property
 Stockbridge, P.C.                                               Owned by the
 100 Light Street,                                               Debtor, and
 10th Floor                                                      identified on
 Baltimore, MD 21202                                             Schedule A/B
 Law Offices of Sue                                                                                                                                                     $200,000.00
 A. Greer
 200 Howard Street
 Suite 101
 La Plata, MD 20646
 Donnie Spiers                                                                                                                                                          $109,000.00
 Stylecraft Products,
 LLC
 2621 Karbach Street
 Houston, TX 77092
 Thomas Hayden                                                                                                                                                            $42,780.49
 105 La Grange
 Avenue
 La Plata, MD 20646
 Charles County,                                                 TID No. 07-009704                                   $18,213.57                        $0.00              $18,213.57
 Maryland
 P.O. Box 2607
 La Plata, MD 20646
 Tammy Potter                                                                                                                                                             $10,579.27
 1016 Bran Drive
 La Plata, MD 20646
 Mudd, Mudd &                                                                                                                                                               $7,113.86
 Fitzgerald
 P.O. Box 310
 La Plata, MD 20646
 PNC Bank, N.A.                                                                                                                                                             $6,758.18
 P.O. Box 856177
 Louisville, KY
 40285-6177




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Bauserman Service, Inc.                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 James Truitt                                                    TID No. 07-011741                                     $5,718.08                       $0.00                $5,718.08
 20 East Timonium
 Road
 Lutherville
 Timonium, MD
 21093
 J. Scott Morse                                                  TID No. 07-037376                                     $4,988.50                       $0.00                $4,988.50
 5305 Village Center
 Drive
 #143
 Columbia, MD 21044
 James Truitt                                                    TID No. 07-014481                                     $4,215.30                       $0.00                $4,215.30
 20 East Timonium
 Road
 Lutherville
 Timonium, MD
 21093
 Judy Michael                                                    TID No. 07-040393                                     $1,543.74                       $0.00                $1,543.74
 Charles County
 Government
 200 Baltimore Street
 La Plata, MD 20646
 Jim Hooper                                                                                                                                                                 $1,075.00
 Hooper &
 Associates
 3605 Old
 Washington Road
 Waldorf, MD 20602
 Jim Glynn                                                                                                                                                                    $315.00
 Glynn & Associates
 3050 Crain Highway,
 #303
 Waldorf, MD 20601
 Maryland Aviation                                                                                                                                                                $1.00
 Administration
 Maryland
 Department of
 Transportation
 7201 Corporate
 Center Drive
 Hanover, MD 21076
 Federal Aviation                                                                                                                                                                 $1.00
 Administration
 U.S. Department of
 Transportation
 800 Independence
 Avenue, SW
 Washington, DC
 20591




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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    Charles County, Maryland
    P.O. Box 2607
    La Plata, MD 20646



    Donnie Spiers
    Stylecraft Products, LLC
    2621 Karbach Street
    Houston, TX 77092



    Federal Aviation Administration
    U.S. Department of Transportation
    800 Independence Avenue, SW
    Washington, DC 20591



    J. Scott Morse
    5305 Village Center Drive
    #143
    Columbia, MD 21044



    James Truitt
    20 East Timonium Road
    Lutherville Timonium, MD 21093



    Jim Glynn
    Glynn & Associates
    3050 Crain Highway, #303
    Waldorf, MD 20601



    Jim Hooper
    Hooper & Associates
    3605 Old Washington Road
    Waldorf, MD 20602



    Judy Michael
    Charles County Government
    200 Baltimore Street
    La Plata, MD 20646
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Law Offices of Sue A. Greer
200 Howard Street
Suite 101
La Plata, MD 20646



Maryland Aviation Administration
Maryland Department of Transportation
7201 Corporate Center Drive
Hanover, MD 21076



Mudd, Mudd & Fitzgerald
P.O. Box 310
La Plata, MD 20646



PNC Bank, N.A.
P.O. Box 856177
Louisville, KY 40285-6177



PSM Holdings, LLC
c/o Miles & Stockbridge, P.C.
100 Light Street, 10th Floor
Baltimore, MD 21202



Tammy Potter
1016 Bran Drive
La Plata, MD 20646



Thomas Hayden
105 La Grange Avenue
La Plata, MD 20646
